Case 1:17-cv-05228-NGG-VMS
        Case 1:18-cv-00068 Document
                            Document576
                                      328-2
                                         FiledFiled
                                               on 07/16/21
                                                    07/19/21in Page
                                                               TXSD1 of
                                                                     Page
                                                                        5 PageID
                                                                           1 of 5 #: 15180
                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                               July 16, 2021
                                                                            Nathan Ochsner, Clerk
Case 1:17-cv-05228-NGG-VMS
        Case 1:18-cv-00068 Document
                            Document576
                                      328-2
                                         FiledFiled
                                               on 07/16/21
                                                    07/19/21in Page
                                                               TXSD2 of
                                                                     Page
                                                                        5 PageID
                                                                           2 of 5 #: 15181
Case 1:17-cv-05228-NGG-VMS
        Case 1:18-cv-00068 Document
                            Document576
                                      328-2
                                         FiledFiled
                                               on 07/16/21
                                                    07/19/21in Page
                                                               TXSD3 of
                                                                     Page
                                                                        5 PageID
                                                                           3 of 5 #: 15182
Case 1:17-cv-05228-NGG-VMS
        Case 1:18-cv-00068 Document
                            Document576
                                      328-2
                                         FiledFiled
                                               on 07/16/21
                                                    07/19/21in Page
                                                               TXSD4 of
                                                                     Page
                                                                        5 PageID
                                                                           4 of 5 #: 15183
Case 1:17-cv-05228-NGG-VMS
        Case 1:18-cv-00068 Document
                            Document576
                                      328-2
                                         FiledFiled
                                               on 07/16/21
                                                    07/19/21in Page
                                                               TXSD5 of
                                                                     Page
                                                                        5 PageID
                                                                           5 of 5 #: 15184
